Case 3:19-CV-00264-.]PG-R.]D Document 1-1 Filed 03/05/19 Page 1 of 1 Page |D #15
CIVIL COVER SHEE’I`

'I`he .lS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or piher papers us required by law, except as
provided by local rules of eourt. This form, approved by 111e Judicial Conf`ere:)ce of the U:nted Sta\es m September 1974, is required for the use ofthe Clerk of Court for the
purpose ofiuitiating the civil docket sheet. (.S`EE !AK§TRUCTIONS ONNEXT PAGE OF THI.S' FORM.)

15 44 (Rev. 021']9)

 

I. (a) PLA[NTIFFS
Jason Ga||oway, et a|.

{h) Counly ofResidence of` First Listed P]ain£il`f _
(EXCEPTIN U.S. PLAINT/FF CASE.§`]

(C) A[IOITl€yS (Fr'."m N.'.zme, Addre.vs. and Tei'ephune Number)

Joel S. Ha|vorsen

Ha!vorsen K|ote, 680 Craig Fload, Suito 104, St. L.ouis, MO 63141

DEFENDANTS

NOTE'.

Arlomcys (UKnom:}

 

County of Res:`dence of First Listed Def`endant

N|arathon Financia| |nsurance Company, Inc., a Delaware corporation

St. Clair County

{IN U..$`. PLAINT!FF (MSES ONLY)

1'N LAND CONDEMNATION CASES, USE THE LOCATION C|F
THE ']`RACT OF LAND lNVOl.VED.

 

II. BASIS OF JURISDICTION (Pl`a€e fm "X" in Om:' Box ()n.ly_)

1:1 1 U.S. Govcmmcnt

Piainlii`i'

Cl 2 U.S. Govemmenl

Dcl"cndanl

 

Cl 110 Insurd.ncc

120 Marine

130 Mi|ler Acl

140 Ncgo!iablc lnsn'umenl

150 Recovcry of Overpaymenl
& Enforcement ofludgml:nt

151 Medicarc Act

152 Recnvcry ochfaulteil
Studcnt Loans
(Excludes Vezerzms)

153 Rec<)very of 0verpay1nent
ofVeteran’s Bencl`ils

160 Stockho]ders' Suir.s

190 Olher Conu'ac\

195 Conlracl Product Liabil:`ly

196 Franchisc

EICI C\UE|U

|JCIC|C.`| U

   

Cl 210 L:md Cnndcmnation
0 220 Forec|osure

El 230 Renz Lcase & chcl'mcnt
13 240 'I`orts to L:lud

|'l 245 Torl Pmducl Liability
13 290 Al| OLhcr Rcul Propcrl}'

    

15 3 chcral Qucstion
(U..S`. Gover'nmer:r Nr)! a Pan‘y}

1] 4 Divers:'ly

(I)id:'ca{e Ci!z`zenship r)anr£i'r’.v in item IH)

IV. NATURE OF SUIT (PIace an "X `n One Box On!j

Cl 310 Airpi:ine
Liabniiy
Slander

Liability
111 340 Marine

Liabilily

Irljury

13 441 Voling
Cl 442 Emplnymem
U 443 Housingl

Employmerlr

Other
Cl 443 Educalion

 

PERS()NAL IN.IURY
1:1 315 Air;ilanc Product
121 320 Assuu|r, Libcl &

111 330 chcral Emp]oycrs‘

El 345 Marine Produuc
|:l 350 Molor Vehicle
1:| 355 Moior Vehiclc
Producl Liability
Cl 360 Ochcr Pcrsona!

171 352 Pc!uonal llljury -
Medical Mal o raclice

13 440 Otl'n:r Civi| Righls

Accommodutions
C| 445 Arncr. w/Disabililics ~

Cl 446 Amer. waisubililies -

 

[1 365 Persona| lnjury -
Producl Liabili:y

Cl 367 Hcallh C:ircf
Ph:irrriuceutical
Pcrsonal lnjury
Product Liabilit'y

El 365 Asbeslos Pmc)nal
lnjury Producz
Liabiliiy

PERSONAL PROPERTY

13 320 Other Fraud

Cl 371 Trut]'i in Lcnding

CI 380 Other Personal
Propcrty Damagc

El 385 Propcny Damngc
Producl Liabi]ily

   

  
 

llahea§ Corpus:
[1 463 Al:`en Delninee
Cl 510 Motinns to Vacaic
Seutence
fl 530 General
Cl 535 Dc.~nh Pcnally
Olhur:

  

13 550 Civi| Righ{s

Cl 555 Prison Condilion

Cl 560 Civil Delainec -
C[mdiliun$ of
Con!'mcmcnt

PERSONAL lNJU RY

 
 
 

Cl 540 Mundarnus & Olhcr

(For Di'ver.ri.ty {,`u.ves Un[v)

HI. CIT{ZENSHIP OF PRINCIPAL PARTIES (PIurc' an "X" in (Jn'e Boxji;lr P!czir:ryf

and One Baxfor Defe)ldant)

P'I`F DEF PTF EJEF
Citizen of'l`his Slale D 1 Cl 1 Incorporaled orPrincipal Place 111 4 |:l 4
ofBusincss In This State
Cilizen ul`Anolher Slalc 171 2 [1 2 locomoraled and Principal Plzu:e Cl 5 C`] 5
ofBusincss 111 Anotllcr Statc
Cili:/en or Subjectofa U 3 Cl 3 Forcign Nalion l_.l 6 l'l 6

Foreign Country

[] 625 Drug Rel:ned Seizure
of`ProperTy 21 USC 881
111 690 ()thcr

 

1371

 

Cl 720 Labor!T\/lanugcmcnt
Ro]:nions

ET 740 Rai]way Labor Act

El 751 Fami!y and Medical
Leave Act

D '?90 Olher Labor Litigation

13 291 Employcc R¢:tircmcnt
[ncome Securily Act

13 462 Namrnhzatiun Appllc:mon
Cl 465 Olher immigration
Actions

 

 

 

n 422 Appeal 28 osc 253
1:1 423 Wilhdrawa]

28 USC 157

  

|Il 820 Copynghts

U 830 Patcm

1'_`| 835 Patcm ~ Abbrcviatcd
Ncw Dcug Applicnlion

ij 840 Tradcrnark

s 361 HlA{l:+¢)$n)
o 362 slack Lung (923)

o 363 omc/oer (405¢§))
cl 364 sslo Tinc xvi

cl 365 r<s: (405(g))

  

111 870 Taxcs [U_S. I‘laimif`f`
or Del`end:int]

13 871 IRS-'l`hird F'arty
26 USC '1‘609

  

 

 

 
  
 

  

 

 

 
 

ij 3'1'5 False Claims Act

l:l 376 Qui 'I`arrl (31 USC
3729(3)]

13 400 State Rcapponionmcnt

E\ 410 Antitrusl

13 430 Banks and Banking

U 450 Commcrcc

CI 460 Dcportation

CI 470 Raekctccr lnf¥uenced and
Corrupl Orgnnizations

M~,, D 450 Consumer Cfedil

13 435 Telephoue Consumcr
Protcc!ion Acl

El 490 Cab|cfSat TV

El 850 Securitics/Commodil!csf
Excl:angc

51 890 Odler Slatulory Aclion.~‘.

D 391 Agricultural Al:ls

1.'1 893 Environmen[al Mallers

Cl 895 Frccdom of Inforrnaiion
Act

13 896 Arbitrn£ion

Cl 899 Administrarive Procedurc
Acb"Review or Appea! of
Agcney Dccision

111 950 Cunsciiulionality of
Slalc Stannes

 

V. ORIGIN (le:e au "X" in Oue Bax Gnl'_v)

dl Original_ El 2 Removcd from CI 3 Remandcd i`rom 13 4 Reinstated or Ei 5 ']'mnstl-red from 13 6 Multidistrict CI B Multiéisr.rict
Pror.‘ccdmg Sr.atc Court Appcl|ar.c Court Reopcncd Ano'_her Disn-jc[ Litigation - Litigation -
[speci','jd Transfcr Direct File

 

VI. CAUSE OF ACTION

VII. REQUESTED IN

 

Te|ephone

18 cHEcK iF THIS ls A CLASS AchoN

Cite the U.S. Civil Slatute under
47 U.S.C. § 227, et al.

Bricfdescripcion of cause:

Consumer Protection Act

DEMAND S

which you are filing (Do nor cirejurisdr'c!ionafmoves unless dir-ersr'qz):

CHECK YES only ifdemanded in compiaint:

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JuRY oEMAND= 1a Yes r:INQ
VII[. RELATED CASE(S)
(S ` !ru'tv l).'
IF ANY ge ms ° m s JUDGE ii 7 __ iii _DocKET NUMBER vii n j _
DATE SIGNATURE OF ATTORNEY OF RECORD
015/05 / 101 /s/ Joe| S. Ha|vorsen
FOR OFFICE USF. ONLY
RECE[PT # ]UDGE MAG. J'UDGE

AMOUNT

AI’FLYlNG IFP

